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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


 IN RE:
                                                       CASE NO. 6:22-BK-03789-LVV
 LISA A. BAKER
                                                       CHAPTER 7
                        DEBTOR



                            MOTION TO LIFT AUTOMATIC STAY


      NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

If you object to the relief requested in this paper you must file a response with the Clerk of
the Court at 400 W. Washington Street, Suite 5100, Orlando, FL 32801, within 21 days from
the date of the attached proof of service, plus an additional three days if this paper was served
on any party by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you of
a hearing date or the Court will consider the response and grant or deny the relief requested
in this paper without a hearing. If you do not file a response within the time permitted, the
Court will consider that you do not oppose the relief requested in the paper, and the Court
may grant or deny the relief requested without further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have one.
If the paper is an objection to your claim in this bankruptcy case, your claim may be reduced,
modified, or eliminated if you do not timely file and serve a response.




       COMES NOW ACAR LEASING LTD, INC., D/B/A GM FINANCIAL LEASING

(hereinafter "Creditor"), by and through its undersigned attorneys, and pursuant to 11 USC § 362

requests this Court enter an Order lifting the automatic stay, and in support thereof would assert

as follows:

       1.       On or about October 21, 2022, the Debtor filed a Chapter 7 Petition in this Court.
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       2.        For value received, the Debtor executed and delivered a Closed End Motor

Vehicle Lease Agreement as evidence of an indebtedness to the Creditor ("Agreement"). A copy

of the Agreement is attached hereto as Exhibit "A".

       3.        Said indebtedness is secured by property more particularly described in the

parties' Agreement as a 2020 CHEVROLET MALIBU, VIN: 1G1ZG5ST6LF118863

(“Vehicle”).

       4.        The Creditor is the present owner of the Vehicle and holder of the Agreement. A

copy of the Certificate of Title is attached hereto as Exhibit “B”.

       5.        The afore described Agreement is now in default because of the Debtor's failure to

make regular lease payments beginning July 26, 2022, and thereafter, as set forth in the

Declaration of Creditor attached hereto as Exhibit "C".

       6.        By reason of the defaults as set forth above, Creditor wishes to exercise its option

to declare the entire lease liability balance under the Agreement due and payable and take

possession of the Vehicle, which action is stayed by the filing of the Debtor’s Petition herein.

       7.        Creditor has retained the undersigned attorneys to represent it in this action, and is

obligated to pay said attorneys a reasonable fee for their services.

       8.        Creditor has duly performed each and every act required to be performed by it

under the Agreement, and all conditions precedent to the filing and maintenance of this Motion

have been performed or have occurred.

       9.        In order to protect its security, Creditor may be required to advance and pay out

during the pendency of this action and any subsequent action to take possession of the Vehicle,

monies for Court costs and attorneys’ fees in pursuing such action. Any such sums advanced and

paid out will be due and owing Creditor pursuant to the terms of the Agreement.
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       10.     The Creditor requests the Court to waive the 14 day stay so that the Creditor may

immediately enforce and implement any Order granting the relief requested herein.

       11.     The foregoing facts constitute cause for relief from the automatic stay pursuant to

11 U.S.C. 362(d).

       12.     The automatic stay provisions of § 362 should be lifted or modified in order to

permit Creditor to enforce its rights under the Agreement, including Creditor’s right to retake

possession of the Vehicle, for the following reasons:

               a.      Creditor lacks adequate protection of his interest in the Vehicle

       because the Debtor has ceased paying her obligations, and such default is causing a

       steady increase in the indebtedness owed Creditor under the Agreement.

               b.    The facts as stated above constitute unreasonable delay by the Debtor that

       is prejudicial to Creditor, and constitutes a lack of adequate protection of Creditor’s

       interest in the Vehicle.

       13.     The stay should be lifted to allow the Creditor to exercise its contractual, state,

and common law remedies relating to the Vehicle, including authorization to give all notices

and take such action as necessary to protect its rights to file or amend its claim to assert any

deficiency remaining on the sale of the Vehicle.

        WHEREFORE, Creditor requests the Court enter an Order (1) granting relief from the

 automatic stay in rem to permit Creditor to take possession of the Vehicle, (2) waiving the 14

 day stay period under Rule 4001(a)(3) so as to permit the Creditor to immediately enforce the

 relief requested herein, (3) allowing the Creditor to exercise its contractual, state, and common

 law remedies relating to the Vehicle, including authorization to give all notices and take such
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action as necessary to protect its rights to file or amend its claim to assert any deficiency

remaining on the sale of the Vehicle, (4) directing the Debtor to surrender the Vehicle directly

to the Creditor or otherwise make the Vehicle available to Creditor, and authorizing the Court

to reserve jurisdiction to enter an appropriate order in the event the Debtor fails to do so, and

(5) for such other and further relief as is just and proper.


                                              /s/Teresa M. Hair
                                              Teresa M. Hair, FL Bar No. 44079
                                              Patrick Hruby, FL Bar No. 0088657
                                              Dennis J. LeVine, FL Bar No. 375993
                                              Jay Jones, FL Bar No. 90736
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
                                              8757 Red Oak Boulevard, Suite 150
                                              Charlotte, NC 28217
                                              Telephone: (844) 856-6646
                                              Facsimile: (704) 369-0760
                                              FloridaBKLegal@brockandscott.com
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                       DEBTOR



                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Motion to
Lift Automatic Stay with Exhibits has been electronically served or mailed, postage prepaid on
November 11, 2022, to the following:

LISA A. BAKER
3156 CALGARY STREET
MELBOURNE, FL 32935

Eric A. Morgan, Esq.
2800 Aurora Road, Suite J
Melbourne, FL 32935

Dennis D Kennedy, Trustee
P.O. Box 541848
Merritt Island, FL 32954

Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

                                             /s/Teresa M. Hair
                                             Teresa M. Hair, FL Bar No. 44079
                                             Patrick Hruby, FL Bar No. 0088657
                                             Dennis J. LeVine, FL Bar No. 375993
                                             Jay Jones, FL Bar No. 90736
                                             Attorney for Creditor
                                             BROCK & SCOTT, PLLC
                                             8757 Red Oak Boulevard, Suite 150
                                             Charlotte, NC 28217
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EXHIBIT A
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EXHIBIT B
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EXHIBIT C
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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


IN RE:
                                                     CASE NO. 6:22-BK-03789-LVV
LISA A. BAKER
                                                     CHAPTER 7
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                           DECLARATION IN SUPPORT OF
                          MOTION TO LIFT AUTOMATIC STAY

       The undersigned, Robbie Brown, under penalty of perjury states as follows:

       1.     I am employed by ACAR LEASING LTD, INC., D/B/A GM FINANCIAL
LEASING (hereinafter "GM FINANCIAL LEASING"), in the capacity of Bankruptcy Legal
Representative III.

        2.      This declaration is based upon the lease payment records of GM FINANCIAL
LEASING. These records are regularly maintained in the course of business, and it is the
regular practice to make and maintain these records. These records reflect lease payments that
are noted in the records at the time of receipt by persons whose regular duties include recording
this information. I maintain these records for GM FINANCIAL LEASING and regularly use
and rely upon them in the performance of my duties.

        3.     GM FINANCIAL LEASING has initiated proceedings to lift the automatic
stay with respect to collateral more particularly described as:

               2020 CHEVROLET MALIBU, VIN: 1G1ZG5ST6LF118863

      4.      In accordance with the Closed End Motor Vehicle Lease (hereinafter
“Agreement”), the Debtor was to make monthly payments to GM FINANCIAL LEASING.

      5.    The Debtor defaulted under the terms of the Agreement in that the Debtor did not
make payments due for July 26, 2022, and is now past due for said payment and all subsequent
payments.

     6.    As a result of the Debtor's non-payment, the Debtor owes GM
FINANCIAL LEASING the following sums:

               a.     Lease liability balance $6,656.02 as of November 11, 2022.

               b.     Insurance cost paid at Creditor's expense $                 .

               c.     Other expenses:

                      Attorney fees & costs          $613.00
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                      Late Charges                   $______
                      Accrued Other Fees             $______


       7.      GM FINANCIAL LEASING has retained Brock & Scott, PLLC and agreed to pay a
reasonable fee for their services.

      8.      The lease and proof of lien attached to the motion as exhibits are true and
accurate copies of the original documents.

      PURSUANT TO 28 U.S.C. §1746, I DECLARE UNDER PENALTY OF PERJURY
THAT THE FOREGOING IS TRUE AND CORRECT. EXECUTED ON THIS 11        DAY
OF November        , 2022.



                                             Robbie Brown
                                             Bankruptcy Legal Representative III
